16-01020-jlg        Doc 39     Filed 09/10/18        Entered 09/10/18 11:39:28       Main Document
                                                    Pg 1 of 2


                              UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK
                                         MANHATTAN DIVISION
--------------------------------------------------------X
In re AMIR ORLY,                                          Ch 7 Case No 15-11650(jlg)

                          Debtor.

--------------------------------------------------------X
ALFREDO MORENO COCOLETZI, et al.,

                          Plaintiffs,
        -against-                                              AP Case No 16-01020(jlg)

AMIR ORLY,
                           Defendant.
-------------------------------------------------------X

              ORDER GRANTING MOTION OF LINDA M. TIRELLI, ESQ.,
                   TO WITHDRAW AS ATTORNEY OF RECORD

        THIS MATTER, having come before the Court on the Motion to Withdraw as

Attorney of Record (“Motion”) filed by Linda M. Tirelli, Esq., attorney of record for

Debtor/Defendant, Amir Orly (“Debtor/Defendant”), on May 25, 2018; and there being due

and sufficient notice of the Motion; and upon the record of the hearing held by the Court on

July 12, 2018; and all filings related thereto; it is hereby

        ORDERED, that the Motion is GRANTED, and Linda M. Tirelli, Esq., is permitted

to withdraw as attorney of record for the Debtor/Defendant, and is relieved of any and all

further duties and responsibilities for Debtor/Defendant in this case, and

        IT IS FURTHER ORDERED, that Debtor’s counsel shall serve a copy of this

Order upon the Debtor at his email address: arula1963@gmail.com (the “Debtor’s Email

Address”); and




                                                           1
16-01020-jlg   Doc 39     Filed 09/10/18     Entered 09/10/18 11:39:28     Main Document
                                            Pg 2 of 2


       IT IS FURTHER ORDERED, that service upon the Debtor at the Debtor’s Email

Address shall be deemed to satisfy the requirement of due and sufficient notice in this

case; and [JLG]

       IT IS FURTHER ORDERED, that all further pleadings, motions, notices,

correspondence, and other documents shall be served directly on Debtor/Defendant.



BY THE COURT:



10th day of September, 2018
 New York, New York
                                    /s/   James L. Garrity, Jr.
                                    Hon. James L. Garrity, Jr.
                                    United States Bankruptcy Judge




                                              2
